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                               CERTIFICATE OF SERVICE

       I certify that on March 7, 2023, I served the attached document by U.S. Mail and

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